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IN THE UNITED STATES DISTRICT COURT /h . 57
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FoR THE EASTERN DISTRICT oF LOUISIANASZED bkyof<qzzq
x/,q/V 3 LOU/~S/_a 7`
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TERRANCE E. wILLIAMS, 0%£724
Movant , C/e”(Q W/`/)?`E
Vs. Case No.:~OB-CV-lO79-B

Crim. No.: 98-CR-57-1

UNITED STATES OF AMERICA,
Respondent.

 

MOVANT'S MOTION FOR LEAVE TO AMEND
AMENDED 28 U.S.C. §2255 MOTION, IN LIGHT OF

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UNITED STATES v. BOOKER, 543 U.S. (2005)“

Pursuant to F.R.Civ.P. Rule 15 et. al., Movant TERRANCE E.
WILLIAMS, p£g §§, in want of counsel, asks this Honorable Court
to grant this MOTION FOR LEAVE TO AMEND AMENDED 28 U.S.C. §2255
MOTION, IN LIGHT OF UNITED STATES V. BOOKER, 543 U.S. __ (2005),
and in support thereof, says:

l. PROCEDURAL BACKGROUND

Movant presently have a §2255 motion pending in this Court
whereby the respondent have filed it's response thereto. Like-
wise, Movant have amended his §2255 motion, filed affidavits in
support, and even a motion to expand the record. The Respondent
So responded when it thought necessary.

Cn or about October 1, 2004, Movant filed a MOTION FOR LEAVE
TO AMEND, OR IN THE ALTERNATIVE, SUPPLEMENT, AMENDED 28 U.S.C.

§2255 MOTION, lN LIGHT OF BLAKELY V. WASHINGTON, 124 S.Ct. 2531

 

(2004). Respondent filed it's response on or about October 15,

* Together with Booker, supra., United States v. Fan fan

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heard and ultimately decided with the same holding.

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2004, and Movant filed his reply on or about October 27, 2004.
This Court have yet made a ruling on the motion.

Movant incorporates by reference his amended §2255 motion
and Traverse (reply) motion thereof, likewise, Motion for Leave
to Amend, or in the Alternative, Supplement, Amended 28 U.S.C.
Motion, in Light of Blakely v. Washington, 124 S.Ct. 2531 (2004),
and Reply thereof, e.g. all fact, claims, etc., as if set forth
fully herein.

ll. JUDICIAL NOTICE

Judicial notice should be taken of the fact that on or about
Januraq/lZ, 2005, the U.S. Supreme court announced that Blakely
v. Washington, supra., do in fact applies to the Federal Sen-
tencing Guidelines ("FSG")} as Movant explains to this Court in
his October 1, 2004, Motion to Amend.

Moreover, Movant contends that the Blakely and Booker, supra.,
decisions has recognized a new right which is retroactively ap-
plicable on collateral review because "[t]here can be no doubt
that the court's severability analysis [of 18 U.S.C. §3553(b)(1)]
has produced a scheme dramatically different from anything Con-
gress has enacted since 1984[,]" announcing today's Sixth Amend-
ment holding. (Booker, supra. Justice Scalia J. dissenting, in

part.).

1 The holding in Blakel supra. likewise Booker, supra., is
that the FSG is unconstitutional, in part, because it is in di-
rect violation with the Sixth Amendment "jury trial". The un-
constitutional parts of the FSG allowed judges to determine the
maximum sentence, based on the "real conduct" and by the pre-
ponderance of the evidence standard, rather then "solely on the

basis of the facts reflected in the ur v d‘ t -
the defendant n Id J Y er 1c or adm1tted by

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III. COLLATERAL REVIEW RETROACTIVITY OF THE DECISIONS

A. 18 U.S.C. §3553(b)(1):

"Application of guidelines in imposing a
sentence ... the court shall impose a sen-
tence of the kind, and within the range ...
unless the court finds that there exists

an aggravating or mitigating circumsatnce

of a kind, or to a degree, not adequately
taken into consideration by the Sentencing
commission in formulating the guidelines ...
ln determining whether a circumstance was
adequately taken into consideration, the
Court shall consider only the sentencing
Guidelines, ... ln the absence of an appli-
cable sentencing guideline, the court shall
impose an appropriate sentence ... In the
absence of an applicable sentencing guideline
in the case of an offense other than a petty
offense, the court shall also have due regard
for the relationship of the sentence imposed
to sentences prescribed by guidelines appli-
cable to similar offenses and offenders ."'

(Booker, supra.; Appendix).2 Ultimately, it is this statute,
Section 3553(b)(1) of Title 18, (and not the FSGs themselves,
per §§) that mandates application of the FSGs, which was passed
as part of the Sentencing Reform Act of 1984 ("Reform Act").
Section 3553(b)(1), do not compart with today's Sixth Amend-
ment, therefore, it has been held "unconstitutional". Specifi-
cally, because it directs judges to determine the "substantive"
real conduct by a preponderance of the evidence standard, charged

and uncharged. See United States Sentencing Guidelines ("USSG")

2 Title 18 U.S.C. §3742(e), was also declared "unconstitutional"
and too was attached as an Appendix, which reads, in part: "The
court of appeals shall give due regards to the opportunity of the
district court to judge the credibility of the witnesses, and
shall accept the findings of fact of the district court ... shall
give due deference to the district court's application of the
guidelines to the fcats." (Id.).

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§2D1.1(a); See also Id., Commentary Application Note 12; §2D1.1*
(b); §231.1; §2J1.2(b); §2J1.2(b); §2H3.1(¢); §131.3(a); §3€1.1;
and many more. See USSG Manual of 2004.

The Blakely and Booker decision having declared section
3553(b)(1) as being unconstitutional, e.g. "null and void", easily
meets the fact that infringement of the rule "seriously disminish
the likelihood of obtaining an accurate conviction," and "alter
our understanding of the bedrock procedural elements essential
to the fairness of a proceeding." Saw er v. Smith, 111 L.Ed.2d
193 (1990).

B. The Doctrine of Marbury v. Madison

 

The Supreme Court of the United States asserted the right
to declare an act of Congress unconstitutional for the first time
in 1803 in the case of Marbury v. Madison, 1 Cranch 137, 5 U.S.
1375 2 L.Ed. 60 (1803). Specifically,`Congress had passed an
act to give the Supreme Court original jurisdiction in a case not
authorized by the Constitution, which especially enumerates the
matter in which the Court should shall have original jurisdiction,
However, the law was clearly in violation of the constitution,
and the Supreme Court ruled that, for this reason, it was not
binding--that is, it was "null and void".3

Hence, this Court should note, that declaring a statute

"null and void" is a delicate act. "To paraphrase Cheif Justice

3 "Null and void" means: "having no legal effect; without bind-
ing force." Blacks Law Dictionary, Second Pocket Edition of 2001.

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Marshall, an 'act of the legislature' must be 'repugnant to the
constitution' in order to be void." Booker, supra. (citing Marbur ,
supra., Justice Steven dissenting). Under such circumstances,
there should be no doubt that the rule set forth in Blakely and
Booker, supra., is~a constitutional rule of "substantive" criminal
law to which the Teague non-retroactivity principle is inappli-
cable.
C. Inapplicability of Teague v. Lane

According to Teague v. Lane, 489 U.S. 288 (1989), a new con-
stitutional rule "of criminal procedure" may not be applied retro-
actively to cases on collateral review. lt should not be mistaken
though, that, the Blakely and Booker rule is not a rule "of cri-
minal procedure". Instead, it is properly characterized as a new
rule of "substantive" criminal law--analogous, in important ways,
to the rule announced in Bailey v. U.S., 516 U.S. 137 (1995), and
applied on collateral review in Bousley v. U.S., 523 U.S. 614
(1998).

In Bousley, the Supreme Court held that Teague "is inapplica-
ble to the situation in which th[e] court decides the meaning of
a criminal statute enacted by Congress." 523 U.S. at 620. Hence,
the Blakely and Booker decision holds that the Sixth Amendment
to the United Stated constitution procludes a judge from making
judicial fact findings of the "substantive" real conduct under-
lying the crime of conviction. Id. lt also should be noted that,
Pre-Blakely and Booker, from as earily as the Reform Act, hundreds

of thousands of defendants' Sixth Amendment right were infringed.

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On the other hand, assuming arguendo, that the Blakely and
Booker rule can be construed as a rule "of criminal procedure",
there is still no retroactivity bar because the rule Blakely
and Booker states easily fit within both of the recognized ex-
ceptions to the Teague doctrine.
lst Exception

The first exception provides that a new rule should be ap-
plied retroactively if it prohibits'%.certain category of punish-
ment for a class of defendants because of their ... offense."
Graham v. Collins, 506 U.S. 461,477 (1993). Blakely and Booker
"prohibits" 18 U.S.C. §3553(b)(1) punishment crimes and/or sub-
stantive conduct that was not authorized "solely on the basis of
the facts reflected in the jury verdict or admitted by the defen-
dant." blakely at 2537 (emphasis in original); See also Booker,
supra.
2nd Exception

Alternatively, the second exception to Teague applies where
the new rule is a "watershed rule of criminal procedure," that is,
a rule that is both "implicit in the concept of ordered liberty"
and "crucial to the accuracy of the adjudication." Graham, supra.
at 478. The rule must not only contribute to fact-finding relia-
bility; it must "alter our understanding of the 'bedrock proced-
ural elements' essential to the [fundamental] fairness of a pro-
ceeding." Sawxer v. smith, 497 U.s. 227,242-4; (1990).

Moreover, rules involving the "reasonable doubt standard"

satisfy the reliability prongs of this exception, while rules in-

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volving the "jury trial" guarantee satisfy the fundamental fair-
ness prong. See Nattle v. White, 39 F.3d 1154,1157-58 (11th Cir.
1994)(holding that the "reasonable doubt" instruction rule of
Cage v. Lousisiana, 498 U.S. 39 (1990) met the second league ex-
ception). From the previous judicial rulings above, undoubtedly,
the new rule announced in Blakely and Booker involes both the
"reasonable doubt standard" and "the jury trial guarantee"--thus
implicating both the "accuracy" and "fairness" of criminal pro-
ceedings.

D. Jurisdictional Defect

 

lt is fundamental Hornbook law that if there is a sentencing
error from a lack of jurisdiction (jurisdictional defect) in the
district court, a §2255 Movant does not need to demonstrate "cause"
and "prejudice". Hence, an enhanced sentence is authorized only
if the defendant had been charged with and convicted "solely on
the basis of the facts reflected in the jury verdict or admitted
by the defendant." Blakel , supra. at pg. 2537. lf the grand
jury did not "specifically" charge those facts (drug quantity or
elements in general) the government did not seek to prove the
particular "offense", and the jury obviously did not find the de-
fendant guilty of Such an offense "beyond a reasonable doubt";
there was a clear lack of jurisdiction in this court to sentence
Movant for the enhanced (or upward departure) "offense". There-
fore, where a sentencing error of jurisdictional proportion oc-
curs, courts have expressly recognized that neither "cause" nor

"prejudice" need be shown. See Harris v. U.S., 149 f.3d 1304,

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1308-09. (11th Cir. 1998).

Moreover, in the words of the Supreme court that "failure
[not to have the sentence 'based solely on the jury's verdict]
[is] a unique constitutional defect ... ris[ing] to the level
of a jurisdcitional defect.'" Lackawanna County Dist. Attorney
v. Cross, 532 U.S. 394,404 (2001).

lt is significant here that the Blakely and Booker sentenc-
ing/jurisdictional error, not only derived from the grand jury's
failure to find probable cause as to all facts (elements) of the
enhance (or upward departure) offense, but mainly the "trial jury"
itself, in direct Violation of the Sixth Amendment. Also too,
the Fifth Amendment lndictment Clause is jurisdictional. lts
violation has always been treated just as other jurisdcitional
defects--reversible per §§, without proof of prejudice. See
Stirone v. U.S., 361 U.S. 212 (1960).

Movant contends that the Blakely and Booker holdings are
clear, the theme that the maximum sentence a judge may impose
"solely on the basis of the facts reflected in the jury verdict
or admitted by the defendant," ld., when not followed, is a clear
"substantive" constitutional defect, and therefore, should be
applied retroactively on collateral review.

Vl. CONCLUSION
Based on the foregoing, this Court should apply the above

decisions as being retroactive to Movant's case.

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Respectfully submitted,

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/ - MW
ERRANCE E. WILLIAMS, pro §§

#25958-034 Unit 5-B

U.S.P. McCreary
P. O. Box 3000
Pine Knot, KY. 42635

 

CERTIFICATE OF SERVlCE

 

l HEREBY CERTIFY that, on Janurary 26, 2005, a true and
correct copy of the foregoing has been furnished, (by depositing
such into the U.S.P. McCreary prison mail-box), by United States
mail to: United¢States Attorney Office, James Letten, 210 Hale

Boggs Fed. Bldg., 501 Magazine Street, New Orleans, LA. 70130.

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